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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

CITY OF WILLIAMSPORT

Plaintiff, : Civil Action No.

V.

CNA INSURANCE COMPANIES and
NATIONAL FIRE INSURANCE COMPANY
OF HARTFORD,

Defendants.

 

CERTIFICATE OF SERVICE
I, Edward Napierkowski, Esq., hereby certify that, on January 30, 2019, I served a copy of
the Notice of Removal from State Court, Corporate Disclosure Statement and Cover Sheet on

counsel listed below via regular mail at the address provided below:

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Date: January 30, 2019

 

 
